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EXHIBIT E
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-01139 (JKF)
) Gointly Administered)
Debtors. )
)

AFFIDAVIT OF STACEY DAVIS
STATE OF UTAH )
) ss:
SALT LAKE COUNTY )
Stacey Davis, being duly sworn, testifies as follows:

1. I have personal knowledge of the facts set forth herein. I submit this Affidavit in
support of PacifiCorp's Motion For Leave to File A Late Proof of Claim against the Debtors.

2. Lam a Team Manager in PacifiCorp's Customer Service Division. I have worked
for PacifiCorp for eight years. My primary responsibilities include managing PacifiCorp's
Customer Service Division's bankruptcy processing group. Upon receiving a bankruptcy notice,
it is the Customer Service Division's policy to search its database for electrical service accounts.
If a bankruptcy notice pertains to a party that has an electrical service account with PacifiCorp,
the Customer Service Division automatically files a proof of claim.

3, In May, 2001, I was a Customer Service Professional in PacifiCorp's Customer
Service Division. As a Customer Service Professional, my primary responsibilities included
receiving and reviewing bankruptcy notices. In 2001, the Customer Service Division received
approximately 519 various bankruptcy notices per month and filed approximately 100 to 150

proofs of claim per month.
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4, On or around May 3, 2001, the Customer Service Division received a Notice of
Commencement of Chapter 11 Bankruptcy Cases, Meeting of Creditors and Fixing of Certain
Dates for the Grace bankruptcy case.

5. On or around May 16, 2001, I prepared and filed a Proof of Claim for electrical
services in the Grace bankruptcy case. In doing so, I handled PacifiCorp's claim for electrical
services in the same manner in which the Customer Service Division handles all other
bankruptcy claims. I searched the Customer Service Division's database for electrical accounts.
When I discovered that Grace had an electrical account with PacifiCorp with a balance of
approximately $1,375.00, I drafted and filed a proof of claim for that amount.

6. When I prepared and filed PacifiCorp's proof of claim, neither I nor the Customer
Service Division had any knowledge of asbestos contamination at the Vermiculite Intermountain
Site, or of any PacifCorp asbestos claim against Grace. It was not until late December, 2004 or
January, 2005 that I learned of asbestos contamination at the Vermiculite Intermountain Site.

7. The Customer Service Division has diligently searched, but cannot find any

record of ever having received the Bar Date Notice Package.

Mor Me
Stacey Dayjs —

Sworn to before me this

{ (? day of January, 2005

NOTARY PUBLIC

WINONA JONES
6504 So. Purple Sage Dr.
West Jordan, Uteh 084

Commission Expires
April 15, 2007
STATE OF UTAH

YUULbaLLe OmuUd

Notary Public

SL 96778.2 01515 00001 1/6/2005 04:03pm
